108 F.3d 1372
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Frankie X. MILLER, Plaintiff-Appellant,v.Lester THOMPSON, Doctor, Defendant-Appellee,andDEPARTMENT OF CORRECTIONS;  Nottoway Correctional Center, Defendants.
    No. 96-7707.
    United States Court of Appeals, Fourth Circuit.
    Submitted March 13, 1997.Decided March 19, 1997.
    
      Frankie X. Miller, Appellant Pro Se.  Mark Ralph Davis, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellee.
      Before HALL, ERVIN, and WILKINS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant filed an untimely notice of appeal.  We dismiss for lack of jurisdiction.  The time periods for filing notices of appeal are governed by Fed.  R.App. P. 4.  These periods are "mandatory and jurisdictional."1  Parties to civil actions have thirty days within which to file in the district court notices of appeal from judgments or final orders.2  The only exceptions to the appeal period are when the district court extends the time to appeal under FED.  R.APP. P. 4(a)(5) or reopens the appeal period under  FED.  R.APP. P. 4(a)(6).
    
    
      2
      The district court entered its order on July 21, 1995;  Appellant's notice of appeal was filed on October 30, 1996.  Appellant's failure to note a timely appeal or obtain either an extension or a reopening of the appeal period leaves this court without jurisdiction to consider the merits of Appellant's appeal.  We therefore dismiss the appeal.  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    DISMISSED
    
      
        1
         Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting United States v. Robinson, 361 U.S. 220, 229 (1960))
      
      
        2
         Fed.  R.App. P. 4(a)(1)
      
    
    